                             UNITED STATES DISTRICT COURT

                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                    NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
                                             )
       v.                                    )       No. 3:07-00223
                                             )       Judge Trauger
                                             )
REGGIE K. JACKSON                            )

                                           ORDER

       This matter came before the Court on the Petition for Warrant for Offender Under

Supervision filed September 13, 2012, which is based on Mr. Jackson’s arrest by State

authorities in Wilson County. (D.E. 206.) It appearing to the Court that since that time Mr.

Jackson has been in compliance with the conditions of his supervised release, that the State

charges are now set for trial on March 18 and 19, 2015, that Mr. Jackson’s term of supervised

release would otherwise expire on November 24, 2014, and the agreement of the parties, it is

hereby ORDERED that on November 24, 2014, if there have been no further violations of the

conditions of supervised release by Mr. Jackson, the Petition at Docket Entry 206 will be

dismissed and Mr. Jackson’s term of supervised release shall expire.

                       20th day of October, 2014.
       Enter this the ____




                                             ________________________________
                                             ALETA A. TRAUGER
                                             U.S. DISTRICT JUDGE




 Case 3:07-cr-00223        Document 261          Filed 10/21/14    Page 1 of 2 PageID #: 685
APPROVED FOR ENTRY:


s/ Sumter L. Camp
Sumter L. Camp
Assistant Federal Public Defender




 Case 3:07-cr-00223       Document 261   Filed 10/21/14   Page 2 of 2 PageID #: 686
